                                    EXHIBIT A
                               Proposed Form of Order




11789175
 13-53846-tjt   Doc 4323-1   Filed 04/30/14   Entered 04/30/14 17:23:04   Page 1 of 4
                             UNITED STATES BANKRUPTCY COURT
                           FOR THE EASTERN DISTRICT OF MICHIGAN
                                        (DETROIT)


In re:                                    )
                                          )
CITY OF DETROIT, MICHIGAN,                )      CASE NO.: 13-53846
                                          )
                                          )      CHAPTER 9
           Debtor.                        )
                                          )      Hon. Steven W. Rhodes
                                          )
____________________________________________________________________________

                 ORDER AMENDING THE FEE REVIEW ORDER
____________________________________________________________________________

           This matter having come before the Court on the Motion of the City of Detroit Water and

Sewerage Department for an Order, pursuant to 11 U.S.C. § 105, Amending and Clarifying the

Fee Review Order Dated September 11, 2013 (Doc. 3929) (the “Fee Motion”) and the Water and

Sewer Bond Trustee’s Response to the Motion of the City of Detroit Water and Sewerage

Department for an Order, pursuant to 11 U.S.C. § 105, Amending and Clarifying the Fee Review

Order Dated September 11, 2013 (Doc. _____) (the “Trustee’s Response”);1 the Court having

considered the Fee Motion, the Trustee’s Response, the exhibits attached to the Fee Motion and

the Trustee’s Response, and the relief requested therein; the Court having considered the

statements of counsel with respect to the Fee Motion and the Trustee’s Response at a hearing

before the Court (the “Hearing”); and the Court having determined that the legal and factual

bases set forth in the Fee Motion, the Trustee’s Response, the exhibits thereto, and the Hearing

establish just cause for the relief granted herein;

           IT IS HEREBY ORDERED THAT:

           1.       The Fee Motion is denied;
1
    Capitalized terms not otherwise defined herein have the meanings given to them in the Trustee’s Response.


11789175
    13-53846-tjt      Doc 4323-1         Filed 04/30/14       Entered 04/30/14 17:23:04             Page 2 of 4
           2.   The Trustee’s professionals, which presently include Waller, Bodman, GLC, and

Young, will submit their respective invoices for fees and expenses incurred commencing March

1, 2014, to the Fee Examiner, in accordance with the Fee Review Order, and all such fees and

expenses incurred by such professionals from March 1, 2014, shall be approved and paid in

accordance with the Fee Review Order, as expenses of administration of the Systems;

           3.   If the Trustee subsequently engages additional professionals besides Waller,

Bodman, GLC and Young, then such additional professionals shall submit their respective

invoices to the Fee Examiner in accordance with the Fee Review Order, and such invoices shall

be approved and paid in accordance with the Fee Review Order as expenses of administration of

the Systems;

           4.   The DWSD shall continue transferring the amount of $150,000 per month, per

System from each of the Systems’ respective Operation and Maintenance Funds, until further

order of the Court, which the Trustee will use to fund its fees and expenses and the fees and

expenses of its professionals;

           5.   To the extent that the amount transferred to the Trustee pursuant to paragraph 4

herein is inadequate to fully pay the Trustee’s fees and expenses and the approved fees and

expenses of its professionals, the DWSD shall pay the deficiency from the Systems’ Operation

and Maintenance Funds. To the extent that the amount transferred to the Trustee pursuant to

paragraph 4 herein exceeds the amount required to fully pay the Trustee’s fees and expenses and

the approved fees and expenses of its professionals, then the Trustee shall apply such sums to

future fees and expenses.

           6.   The Trustee and its professionals have until _______ __, 2014, to submit invoices

for fees and expenses incurred commencing March 1, 2014, through the date of this Order to the



                                                3
11789175
 13-53846-tjt     Doc 4323-1     Filed 04/30/14     Entered 04/30/14 17:23:04      Page 3 of 4
Fee Examiner for payment in accordance with the Fee Review Order, as expenses of

administration of the Systems; and

           7.   The Court shall retain jurisdiction to hear and determine all matters arising from

or related to the implementation, enforcement or interpretation of this Order.




                                                4
11789175
 13-53846-tjt     Doc 4323-1     Filed 04/30/14     Entered 04/30/14 17:23:04       Page 4 of 4
